
Peck, J.
delivered the opinion of the court.
Childress was summoned as a garnishee before a justice of the peace, but failing to appear, judgment was taken against him. By petition he took the case before the circuit court, where a motion to dismiss the certiorari was overruled, and he was permitted to answer in that court to (he garnishment.
*116He stated, that at the time he was summoned he owed nothing to Massey, (against whom the process that justified the summons had issued,) that thirty-two dollars was to become due to him on the 1st day of January, and that between the day of the summons and the day of talcing the examination he had paid it. On this disclosure the circuit court gave judgment against him, from which judgment this writ of error is prosecuted.
The law governing garnishments is found in the act of 1794, ch. 1, sc. 22; by the provisions of this act, the person is summonded to answer what he is indebted at the lime of the summons.. There is no equitable construction by which the court can feel authorized to go beyond the words of the act, to reach a case of indebtedness; the act has been taken with strictness. We have held that the disclosure of the garnishee can not be contradicted to reach him, but that it is on what he declares, the court is authorized to proceed.
There being nothing due at the time of the summons, the court being governed alone by the act, had no authority to give the judgment.
Judgment reversed.
